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                                    EXHIBIT 31
           Case: 1:21-cv-06546 Document #: 70-36 Filed: 11/08/22 Page 2 of 2 PageID #:1093




   To: Dennis Grover,                      cle.com]

   Ce: Kelley Burke]!                   cle.com]; Ginny Stiles   me...
   From: Kaufmann,            mn     EX CHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP (FY DIBOHF23SPDLT)/CN=RECIPIENTS/CN=38526 | 1F68884DEEBBA9E3 1B11B785C 1-
   MEKAUFMA]

   Sent: Mon 10/7/2019 9:08:39 PM Coordinated Universal Time

   Subject: RE: College Vault Team Store Landing Page



    Thanks Dennis. We aren’t allowed to sell Chief gear though on Fightingillini.com, so all Chief references and gear can’t be sold on the school site. So, please
    don’t go active with it or promote it as is.


        Fanatics.com can sell Chief items but Fightingillini.ccom cannot. The product assortment looks okay but the landing page needs corrected.


    Thanks,
        Marty




                  Marty Kaufmann

                  Senior Associate
                  Athletics Director,
                  External Relations
    -             University ofIllinois
                   thletics
                  1700 S. Fourth St.|
                  Champaign, IL 61820
                  Office: 217-244-6532

                  Email:
                  mekaufma@illinois.edu
                  Website:
                  FIGHTINGILLINLcom

                  UNIFY. DEVELOP.
                  INSPIRE. ACHIEVE.


   Underthe Illinois Freedom of Information Act any written communication to or from
   university employees regarding university business is a public record and may be subject
   to public disclosure.




    From: Dennis Grover TEE «\.com>
    Sent: Monday, October 07, 2019 4:00 PM
To: Kaufmann, Martin
g                    < fma@illinois.edu> E
    Ce: Kelley Burke                          cle.com>; GinnyStiles <B ic.com>
    Subject: College Vault Team Store Landing Page


        Marty,


    We are very excited to have created a College Vault landing page directly within your team store. This will allow more school-specific marketing to drive to an
        Illinois-owned site, which we believe will lead to a higher conversion than driving the Illinois fan to shop.collegevault.com. You can view the landing page
        here.


    We’re working with Fanatics to schedule an email to your team store database in the first half of this month driving fans to the page of curated vintage
        product. Overall, this will be a more school-specific experience for your fan, and we will continue to collaborate with Fanatics on how to drive fans to this
        page through emails, social content, and other mediums.


        Please let us know if you have any questions!


    Thank you,


    Dennis Grover
    Coordinator — Partnerships
    1075 Peachtree Street, Suite 3300 | Atlanta, Georgia 30309
    O: 770-618-8410
    M: 404-406-8413
                           cle.com




                                                                                                                                                      ILL-VNTG_0012091

                                                                                                                                                       Exhibit 31
